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 5
                                       UNITED STATES DISTRICT COURT
 6                                   NORTHERN DISTRICT OF CALIFORNIA
 7                                        SAN FRANCISCO DIVISION

 8
     IN RE: CATHODE RAY TUBE (CRT)             Master File No. 3:07-cv-5944 JST
 9   ANTITRUST LITIGATION
     _________________________________________ MDL No. 1917
10
     THIS DOCUMENT RELATES TO:                         Individual Case No. 3:11-cv-05502 SC
11
     ALFRED H. SIEGEL, AS TRUSTEE OF THE               [PROPOSED] ORDER
12   CIRCUIT CITY STORES, INC. LIQUIDATING
     TRUST,
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                        Plaintiff,
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     v.
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     HITACHI, LTD.,
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                        Defendants.
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     [Proposed] Order - 1                                       MASTER FILE NO.: 3:07-cv-5944 JST
                                                                        CASE NO. 3:11-CV-05502 SC
     4251875v1/012325
       Case 3:07-cv-05944-JST Document 4542 Filed 04/05/16 Page 2 of 2



 1           The Court, having considered the stipulation of the parties, and good cause appearing
 2   therefore, orders as follows:

 3           1.         All claims asserted by plaintiff Alfred H. Siegel, solely in his capacity as Trustee
     of the Circuit City Stores, Inc. Liquidating Trust, against defendants LG Electronics, Inc., LG
 4
     Electronics USA, Inc., and LG Electronics Taiwan Taipei Co., Ltd. (collectively “LG”) are
 5
     dismissed with prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure.
 6           2.         Each party shall bear its own costs and attorneys’ fees.
 7           3.         This Order is not a dismissal of any person or entity other than LG.
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 9           IT IS SO ORDERED.
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                                April




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                   5th day of _______________,
             This _____                        2016.




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13                                                            Hon. Jon S. Tigar
                                                              United States District Court Judge
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     [Proposed] Order - 2                                                    MASTER FILE NO.: 3:07-cv-5944 JST
                                                                                     CASE NO. 3:11-CV-05502 SC
     4251875v1/012325
